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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


   ALEJANDRO MENOCAL,
   MARCOS BRAMBILA,                                    Civil No. 1:14-cv-02887-JLK
   GRISEL XAHUENTITLA,
   HUGO HERNANDEZ,
   LOURDES ARGUETA,
   JESUS GAYTAN,
   OLGA ALEXAKLINA,
   DAGOBERTO VIZGUERRA, and
   DEMETRIO VALERGA
   on their own behalf and on behalf of all others
   similarly situated,
                              Plaintiffs,

            v.

   THE GEO GROUP, INC.,

                                 Defendant.


 DECLARATION OF MICHAEL J. SCIMONE IN SUPPORT OF PLAINTIFFS’
       MOTION TO COMPEL PRODUCTION OF DOCUMENTS
          AND ENFORCE THIS COURT’S PRIOR ORDER

       I, Michael Scimone, pursuant to 28 U.S.C. § 1746, declare under penalty of

perjury as follows:

       1.        I am Counsel at Outten & Golden LLP, which, together with Towards

Justice, the Law Office of R. Andrew Free, Milstein Law Office, The Kelman Buescher

Firm, P.C., and Meyer Law Office, P.C., are Plaintiffs’ and Class Counsel in this action.

I am an attorney in good standing admitted to practice before this Court.

       2.        I have been one of the lawyers primarily responsible for the prosecution of

Plaintiffs’ and the Class’s claims in this case.
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       3.     I make the statements in this Declaration based on my personal knowledge

and would so testify if called as a witness at trial.

Documents withheld pending ICE review

       4.     On March 18, 2019, Plaintiffs filed a Motion to Compel documents that

GEO objected to producing on the basis of the Housekeeping Act, 5 U.S.C. § 301, and

United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951), and sought to withhold

pending ICE review. The motion is available at ECF No. 168.

       5.     After Plaintiffs filed the March 18 Motion to Compel, counsel for GEO

contacted Plaintiffs offering to withdraw its Touhy objections and stipulate that no

documents were being withheld pending ICE review. To avoid future noncompliance,

Plaintiffs insisted that the stipulation require GEO to produce a monthly log of any

documents responsive to Plaintiffs’ discovery requests that GEO had withheld or delayed

pending ICE review.

       6.     GEO did not produce a log identifying any withheld or delayed documents

in May, June, July, or August 2019.

       7.     On July 12, 2019, Plaintiffs’ counsel asked counsel for GEO how many

documents remained to be produced, and when their production was anticipated. On July

17, 2019, counsel for GEO responded that 4,500 documents would be produced on July

19, 2019, which would “substantially complete” GEO’s production of electronically-

stored information. That correspondence is attached hereto as Exhibit A.

       8.     In reliance on GEO’s representation that discovery was substantially

complete, Plaintiffs scheduled a deposition of GEO witness on October 3, 2019 and

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another deposition of a GEO witness on October 9, 2019.

       9.     On August 26, 2019, during their first meet-and-confer session, GEO’s

most recent counsel informed Plaintiffs that a log of documents being withheld pending

ICE review would be produced the following week.

       10.    On September 3, 2019, GEO produced a log to Plaintiffs showing that the

production of more than 4,500 documents are being delayed pending ICE review. That

document is attached hereto as Exhibit B.

       11.    In a September 9, 2019 telephone conference, counsel for GEO told

counsel for Plaintiffs that it anticipated that ICE review of the 4,500 documents identified

in the log would be complete on October 4, 2019, and that the delayed documents, which

consist of communications between GEO and ICE, would be produced sometime after

that date. Counsel for GEO also told Plaintiffs that it has identified an additional 1,200

documents responsive to Plaintiffs’ discovery requests, and that an unidentified number

would be submitted for ICE review.

       12.    As of the date of this declaration, no date has been provided for the

production of any documents that have or will be submitted for ICE review.

Other discovery delays

       13.    After several months of meeting and conferring with GEO’s prior counsel,

Plaintiffs recently reached impasse with respect to Plaintiffs’ request for documents

relating to communications between GEO and ICE regarding the use of detainee labor at

any GEO-owned or GEO-operated facility.

       14.    GEO has objected that documents relating to facilities other than the

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Aurora Detention Facility are irrelevant.

       15.    Plaintiffs disagree, in part because these documents would tend to rebut

GEO’s tenth affirmative defense that “any work [the Class] performed was voluntary

and/or minor and consistent with that performed by detainees at ICE facilities throughout

the United States.” ECF No. 26.

       16.    In an April 26, 2019 letter, GEO represented that it would withdraw this

affirmative defense, but nearly five months later, this defense has not been withdrawn.

That correspondence is attached hereto as Exhibit C.

       17.    To determine whether the dispute about documents relating to

communications between GEO and ICE regarding the use of detainee labor at any GEO-

owned or GEO-operated facility was real or theoretical, Plaintiffs asked that GEO

identify whether it had withheld any responsive documents based on this objection. That

correspondence is attached hereto as Exhibit D.

       18.    GEO’s prior counsel agreed to Plaintiffs’ request, but its current counsel

has reneged on this position; on September 17, in a meet-and-confer, GEO confirmed that

it would not disclose whether its document review platform contained documents that

were responsive to Plaintiffs’ request, but withheld on the basis that they relate to

locations other than GEO’s Aurora, Colorado facility.




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Dated: New York, NY
       September 24, 2019
                                         Respectfully submitted,

                                         By: /s/ Michael J. Scimone
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                                         Class Counsel




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